                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
Fund Texas Choice, The North Texas Equal       §
Access Fund, The Lilith Fund for               §    CIVIL NO:
Reproductive Equity, Frontera Fund, The        §    AU:22-CV-00859-RP
Afiya Center, West Fund, Jane's Due Process,   §
Clinic Access Support Network, Ghazaleh        §
Moayedi

vs.

Ken Paxton, Susan R. Deski, Julie Renken,
Wiley B. McAfee, Jose Garza, Fred H. Weber

      ORDER SETTING PRELIMINARY INJUNCTION HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY INJUNCTION HEARING in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Tuesday, September 27, 2022 at 10:30 AM.
All parties and counsel must appear at this hearing.

        IT IS SO ORDERED this 12th day of September, 2022.




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                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
